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 5 Costa Mesa, California 92626
     Telephone: (800) 400-6808
 6 Facsimile: (800) 520-5523
 7 Attorneys for Plaintiff,
     Timothy Chandler
 8
 9                         UNITED STATES DISTRICT COURT
10                      SOUTHERN DISTRICT OF CALIFORNIA
11 TIMOTHY CHANDLER, an individual,              Case No.: 3:22-cv-00636-W-DEB
12                            Plaintiff,
                                                 NOTICE OF PLAINTIFF’S
13        vs.                                    COUNSELS’ MOTION TO
                                                 WITHDRAW
14 MIDLAND CREDIT MANAGEMENT,
     INC., a Kansas corporation,
15                                               HON. THOMAS J. WHELAN
                         Defendant.              DATE:  JANUARY 23, 2023
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                                                 COURTROOM: 3C
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18                                               NO ORAL ARGUMENT PURSUANT
                                                 TO LOCAL RULE
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                        NOTICE OF PLAINTIFF’S COUNSELS’ MOTION WITHDRAW
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 1       PLEASE TAKE NOTICE that on January 23, 2023 in the Courtroom of the
 2 Honorable Thomas J. Whelan, Courtroom 3C, located at the United States District
 3 Court at 221 West Broadway San Diego, CA 92101, counsel for Plaintiff, Gustavo
 4 Ponce, of Kazerouni Law Group, APC, will move this Court for Gustavo Ponce,
 5 David McGlothlin, Mona Amini, and the firm of Kazerouni Law Group APC, to be
 6 removed as counsel for Plaintiff.   This Motion will be based on this Notice, the
 7 accompanying Points and Authorities, and Declaration of Gustavo Ponce.
 8
 9 Dated: December 12, 2022                Respectfully submitted,
10                                         KAZEROUNI LAW GROUP, APC
11

12                                            By: /s/ Gustavo Ponce
                                              David J. McGlothlin, Esq.
13                                            Mona Amini, Esq.
                                              Gustavo Ponce, Esq.
14                                            Attorneys for Plaintiff
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                     NOTICE OF PLAINTIFF’S COUNSELS’ MOTION WITHDRAW
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                                   PROOF OF SERVICE
 2
           I hereby certify that on December 12, 2022, I electronically transmitted the
 3
     document(s) listed below to CM/ECF system on this date.
 4
 5
                 NOTICE OF PLAINTIFF’S COUNSELS’ MOTION TO
 6               WITHDRAW
 7
 8
 9                                            KAZEROUNI LAW GROUP, APC
10
11                                                By: /s/ Gustavo Ponce
                                                  David J. McGlothlin, Esq.
12                                                Mona Amini, Esq.
                                                  Gustavo Ponce, Esq.
13                                                Attorneys for Plaintiff
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                       NOTICE OF PLAINTIFF’S COUNSELS’ MOTION WITHDRAW
